                                                                                        1    Elizabeth P. Hodes, AK Bar No. 0511108
                                                                                             Scott Broadwell, AK Bar No. 0611069
                                                                                        2    DAVIS WRIGHT TREMAINE LLP
                                                                                             188 West Northern Lights Blvd., Suite 1100
                                                                                        3    Anchorage, AK 99503-3985
                                                                                             Phone: (907) 257-5300
                                                                                        4    ElizabethHodes@dwt.com
                                                                                             ScottBroadwell@dwt.com
                                                                                        5
                                                                                             Attorneys for Alyeska Pipeline Service Company
                                                                                        6
                                                                                                                  IN THE UNITED STATES DISTRICT COURT
                                                                                        7
                                                                                                                        FOR THE DISTRICT OF ALASKA
                                                                                        8
                                                                                             CARRIE WESEMAN,
                                                                                        9
                                                                                                                  Plaintiff,
                                                                                        10
                                                                                                    vs.
                                                                                        11                                                  Alaska Superior Court Case No.:
                                                                                             ALYESKA PIPELINE SERVICE                       3AN-19-11761CI
                                                                                        12   COMPANY,
                                                                                                                                            Case No. 3:20-cv-____________
                                            188 West Northern Lights Blvd., Ste. 1100

                                             (907) 257-5300  Fax: (907) 257-5399




                                                                                                                  Defendant.
Davis Wright Tremaine LLP




                                                                                        13
                                                Anchorage, Alaska 99503-3985




                                                                                        14
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                                                                                                                 NOTICE OF REMOVAL OF CIVIL ACTION
                                                                                        15
                                                                                             TO:           Clerk, United States District Court for the District of Alaska
                                                                                        16
                                                                                             AND TO:       Plaintiff Carrie Weseman, through her attorney of record, Isaac Zorea,
                                                                                        17                 Attorney & Counselor at Law.

                                                                                        18          Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Alyeska Pipeline

                                                                                        19   Service Company (“Alyeska Pipeline”) hereby removes this case to the United States

                                                                                        20   District Court for the District of Alaska on the grounds set forth below:

                                                                                        21




                                                                                              Case 3:20-cv-00160-HRH Document 1 Filed 07/01/20 Page 1 of 5
                                                                                        1           1.     Public records of the Superior Court for the State of Alaska show that on or

                                                                                        2    about December 16, 2019, Plaintiff Carrie Weseman (“Weseman”) filed an action against

                                                                                        3    Alyeska Pipeline in the Superior Court for the State of Alaska, Third Judicial District at

                                                                                        4    Anchorage, titled Carrie Weseman v. Alyeska Pipeline Service Company, (Case 3AN-19-

                                                                                        5    11761CI) (the “Original Complaint”).

                                                                                        6           2.     Public Records of the Superior Court for the State of Alaska show that on

                                                                                        7    or about April 20, 2020, the Superior Court issued a Notice and Order for Dismissal for

                                                                                        8    Failure to Serve Defendant, dismissing the Original Complaint. The Notice required that

                                                                                        9    Weseman show good cause in writing why service was not complete, and stated that if

                                                                                        10   good cause was not shown within 30 days, the action would be dismissed. Weseman

                                                                                        11   never filed a good cause affidavit or served the Original Complaint. The dismissal Order

                                                                                        12   was effective as of May 26, 2020

                                                                                        13          3.     On or about May 18, 2020, Weseman filed a Complaint [Amended] (the
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                                             (907) 257-5300  Fax: (907) 257-5399
Davis Wright Tremaine LLP


                                                Anchorage, Alaska 99503-3985




                                                                                        14   “Amended Complaint”) in the same action as the dismissed Original Complaint.
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                                                                                        15                                     TIMELY REMOVAL

                                                                                        16          4.     Alyeska Pipeline was never served with the Original Complaint and had no

                                                                                        17   knowledge of the action. Alyeska Pipeline first received the Amended Complaint, setting

                                                                                        18   forth the claims for relief on which the state action is based, on June 10, 2020.

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                                                                                             NOTICE OF REMOVAL - 2
                                                                                             Weseman vs. Alyeska Pipeline Service Company, Case No. 3:20-cv-_____________________



                                                                                              Case 3:20-cv-00160-HRH Document 1 Filed 07/01/20 Page 2 of 5
                                                                                        1           5.     This Notice of Removal of Civil Action is filed within thirty days after

                                                                                        2    receipt by Alyeska Pipeline of copies of the Summons and Complaint [Amended] in the

                                                                                        3    state action on June 10, 2020, and is timely under 28 U.S.C. § 1446(b).

                                                                                        4                           FEDERAL QUESTION JURISDICTION

                                                                                        5           6.     This is a civil action in which this Court has original jurisdiction pursuant

                                                                                        6    to 28 U.S.C. § 1331, and which may be removed by Alyeska Pipeline to this Court

                                                                                        7    pursuant to 28 U.S.C. § 1441(a), (b).

                                                                                        8           7.     Pursuant to 28 U.S.C. § 1331, federal question jurisdiction exists on the

                                                                                        9    grounds that Weseman has asserted claims under the Age Discrimination in Employment

                                                                                        10   Act, 29 U.S.C. § 623, and the Americans with Disabilities Act of 1990, as amended, 42

                                                                                        11   U.S.C. § 12101, et seq., and seeks all remedies available under law, including those

                                                                                        12   specifically outlined in 29 U.S.C. § 216(b) and all remedies under 42 U.S.C. § 1981(a)

                                                                                        13   and the Americans with Disabilities Act, including back pay, future pay, compensatory
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                                                Anchorage, Alaska 99503-3985




                                                                                        14   damages, punitive damages and attorneys’ fees under 42 U.S.C. § 1988.
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                                                                                        15                                             VENUE

                                                                                        16          8.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 and District of

                                                                                        17   Alaska Local Rule 3.3(b).

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                                                                                             NOTICE OF REMOVAL - 3
                                                                                             Weseman vs. Alyeska Pipeline Service Company, Case No. 3:20-cv-_____________________



                                                                                              Case 3:20-cv-00160-HRH Document 1 Filed 07/01/20 Page 3 of 5
                                                                                        1                                              NOTICE

                                                                                        2           9.     Attached as Exhibit A is a copy of the notice to the state court of the

                                                                                        3    removal which will be filed promptly in the Superior Court for the State of Alaska, Third

                                                                                        4    Judicial District at Anchorage.

                                                                                        5           10.    Copies of all process, pleadings, and orders received by Alyeska Pipeline

                                                                                        6    are attached as Exhibits according to 28 U.S.C. § 1446(a):

                                                                                        7           Exhibit ID    Document Name                                      Date Filed

                                                                                        8           Exhibit B     Complaint                                          Dec. 16, 2019

                                                                                        9           Exhibit C     Summons and Notice                                 Dec. 16, 2019

                                                                                        10          Exhibit D     Notice and Order of Dismissal                      Apr. 20, 2020

                                                                                        11          Exhibit E     Complaint [Amended]                                May 18, 2020

                                                                                        12          WHEREFORE, Alyeska Pipeline has removed the state action to this Court.

                                                                                        13          DATED this 30th day of June, 2020.
                                            188 West Northern Lights Blvd., Ste. 1100

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Davis Wright Tremaine LLP


                                                Anchorage, Alaska 99503-3985




                                                                                        14                                              DAVIS WRIGHT TREMAINE LLP
                                                                                                                                        Attorneys for Defendant Alaska Airlines, Inc.
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                                                                                        15
                                                                                                                                        By:     /s/ Elizabeth P. Hodes
                                                                                        16                                                      Elizabeth P. Hodes, ABA # 0511108
                                                                                                                                                Scott Broadwell, ABA # 0611069
                                                                                        17                                                      Davis Wright Tremaine LLP
                                                                                                                                                188 W. Northern Lights Blvd., Ste. 1100
                                                                                        18                                                      Anchorage, AK 99503-3985
                                                                                                                                                Phone: (907) 257-5300
                                                                                        19                                                      Email: elizabethhodes@dwt.com
                                                                                                                                                Email: scottbroadwell@dwt.com
                                                                                        20

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                                                                                             NOTICE OF REMOVAL - 4
                                                                                             Weseman vs. Alyeska Pipeline Service Company, Case No. 3:20-cv-_____________________



                                                                                              Case 3:20-cv-00160-HRH Document 1 Filed 07/01/20 Page 4 of 5
                                                                                        1
                                                                                             Certificate of Service
                                                                                        2    On the 30th day of June, 2020, a true and correct copy of
                                                                                             the foregoing document was served via the Court’s CM/ECF
                                                                                        3    electronic service on the following counsel of record:

                                                                                             Isaac Zorea
                                                                                        4    PO Box 210434
                                                                                             Anchorage AK 99521
                                                                                        5    izorea.law@gmail.com

                                                                                             By:      s/ Elizabeth P. Hodes
                                                                                        6             Elizabeth P. Hodes

                                                                                        7

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                                                                                             NOTICE OF REMOVAL - 5
                                                                                             Weseman vs. Alyeska Pipeline Service Company, Case No. 3:20-cv-_____________________
                                                                                             4837-9708-3329v.1 0112378-000002



                                                                                              Case 3:20-cv-00160-HRH Document 1 Filed 07/01/20 Page 5 of 5
